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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF INDIANA
                           HAMMOND DIVISION


 UNITED STATES OF AMERICA,                )
                                          )
 Plaintiff,                               )
                                          )
 vs.                                      )           NO. 2:09-CR-35
                                          )
 KWASI MITCHELL,                          )
                                          )
 Defendant.                               )



                             OPINION AND ORDER

         This matter is before the Court on the Motion to Suppress

 Statements, Admissions and Confessions, Request for a Hearing and

 Points and Authorities Thereon, filed by Kwasi Mitchell on October 23,

 2009.    For the reasons set forth below, the motion is DENIED.



 BACKGROUND

         Defendant, Kwasi Mitchell (“Mitchell”), was charged with one

 count of an eight count indictment on February 19, 2009.               The count

 naming Mitchell, count 8, alleged that Mitchell and co-defendant

 Joshua Wampler distributed a mixture of a substance containing a

 detectable amount of heroin on or about November 17, 2008.              Mitchell

 pled guilty without the benefit of a plea agreement.              Following his

 guilty plea, on September 17, 2009, Mitchell was charged in two counts

 of a nine count superseding indictment. Count 1 alleges that Mitchell
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 and five others conspired to possess with the intent to distribute and

 distribute one kilogram or more of a mixture and substance containing

 a detectable amount of heroin from at least April 2007 continuing into

 at least November 2008. Count 9 of the superseding indictment alleges

 that   Mitchell   distributed    a    mixture   and   substance    containing     a

 detectable amount of heroin on or about November 20, 2008.              These two

 counts remain pending against Mitchell.

        Following his arrest, Mitchell’s Miranda rights were read to him,

 he signed a waiver of these rights, and he was interrogated.                    The

 reading of the Miranda rights, signing of the waiver, and interview

 were videotaped.     Mitchell now moves this Court to suppress any and

 all statements, admissions and confessions, and all evidence derived

 therefrom, arguing that these statements, admissions or confessions

 were obtained in violation of his privilege against self-incrimination

 and his right to counsel, as guaranteed by the Fifth and Sixth

 Amendments to the United States Constitution, because Mitchell was

 under the influence of narcotics at the time of the interrogation.

        The Government filed a response to the instant motion on November

 6, 2009, indicating that the instant motion raises issues of fact that

 are appropriate for a hearing.        A hearing took place on November 23,

 2009, at which Detective Matthew Barr (“Det. Barr”) testified for the

 Government, each side had the opportunity to submit evidence, and the

 Court heard argument from both the Government and Mitchell.                 At the

 conclusion of the hearing, the Court took the motion under advisement.



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 In making the following findings of fact, the Court considered all

 evidence presented and the credibility of the witness.



 FINDINGS OF FACT

       Mitchell was arrested at approximately 9:00 a.m. on March 2,

 2009, pursuant to a federal arrest warrant.           Following his arrest,

 Det. Barr advised Mitchell of his Miranda rights.             Det. Barr stated

 the following at the beginning of his interview with Mitchell:

                   Before we talk to you, ask you any
             questions, we got to advise you of your rights.
             Okay? And what I’m going to have you to do is
             I’m going to read them to you.
                   Do you read and write the English language?
             Okay.
                   I’ll read them to you.    You go ahead and
             read it, and then initial just next to each
             stating you understand, and then we’ll go through
             them one at a time.
                   Do you understand you have the right to
             remain silent? That means you don’t have to talk
             to us. Anything you say can be used against you
             in court. You have the right to talk to a lawyer
             for advice before we ask you any questions. You
             have the right to have a lawyer with you during
             any questioning. And if you cannot afford a
             lawyer, one will be appointed to you before any
             questioning, if you wish.
                   Do you understand these rights? [Mr.
             Mitchell nodded yes]. Okay.
                   And then are you willing to speak with us?
             Okay.
                   Then go ahead and read this and then sign
             that.    That says, I have read, or someone has
             read to me this advice of my rights, and I
             understand what my rights are.

 (Def.’s Ex. D at 2; Def.’s Ex. C.)          Mitchell signed the advice of

 rights form.


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       Det. Barr testified that he did not observe anything that would

 indicate that Mitchell did not understand his rights, as explained by

 the advice of rights form.       Det. Barr had observed Mitchell during

 controlled purchases prior to the date of his arrest, and there was

 nothing that Det. Barr saw during his questioning of Mitchell that led

 him to believe that Mitchell was in a state that was different than

 what he observed during the previous controlled purchases.

       Following the waiver of rights, Mitchell spoke with Det. Barr.

 Det. Barr inquired whether Mitchell was under the influence of

 narcotics and Mitchell advised he was not. Despite Mitchell’s answer,

 Det. Barr continue to look for signs of intoxication.                 He did not

 perceive any signs of intoxication.           The signs he was looking for

 included how Mitchell answered the questions, whether he was stumbling

 around as he walked, and how he responded to everything.               Det. Barr

 reports   that,   based   on   his    experience,    daily   users    of   heroin

 oftentimes can not function.          They fall asleep.      Mitchell was not

 falling asleep during the interview.         Det. Barr reports that Mitchell

 behaved normally.     Det. Barr asked Mitchell questions about his drug

 dealing, and Mitchell was able to recall what his drug dealing

 involved.     Additionally, Mitchell was able to recall his Social

 Security number and address.          Det. Barr did not perform any actual

 sobriety testing on Mitchell.

       Although Mitchell has a distinctive speech pattern that, in

 another individual could be taken as a sign of intoxication, Det. Barr


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 did not believe Mitchell’s speech pattern indicated Mitchell was under

 the influence during the interview.         He believed that “that’s how he

 just always spoke.”      No evidence was introduced to contradict this,

 although Defense counsel has insinuated that perhaps Det. Barr never

 had an opportunity to hear Mitchell speak when he was not intoxicated.

       Mitchell did fail to answer one question appropriately.                  When

 asked his middle name, Mitchell provided Det. Barr with his middle

 initial, but was able to provide his full middle name upon further

 questioning. During the interview, Det. Barr never got the sense that

 Mitchell was not following or understanding him.                  With this one

 exception, which was quickly resolved, Mitchell appeared to understand

 what Det. Barr was saying to him during the entirety of the interview.

       During the recorded interview, Det. Barr did nothing to put

 pressure on Mitchell to waive his rights.            No promises were made to

 Mitchell.    No physical force was used, and there was no threat of

 physical force.

       Det. Barr testified that he is familiar with the effects of

 heroin and familiar with the fact that heroin addicts often use heroin

 on a daily basis.    During the interview Mitchell acknowledged that he

 was a daily user of heroin with an over a gram a day addiction.

 Mitchell also indicated that following his arrest he was going to be

 sicker than a dog.     However, Det. Barr has observed many individuals

 who he knows to use heroin on a daily basis, and he knows them to be

 able to conduct business transactions.          Det. Barr testified that,


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 although    he    does   not   know   definitively    whether      Mitchell     was

 intoxicated: “People don’t stay intoxicated 24-7.            So just because I

 know that he uses daily doesn’t mean that he’s 24-7 he’s intoxicated.”

 Det. Barr opined that there are individuals who take heroin on a daily

 basis but do not have impaired judgment.              Furthermore, Det. Barr

 expressed his belief that many heroin addicts take heroin to ward off

 the sickness of withdrawal, rather than to obtain a high.

       A recording of a confidential informant made on or about November

 17, 2008, confirms Mitchell’s heavy heroin usage.              The confidential

 informant is heard saying, “Binky’s1 so high right now it takes him

 a minute to answer the phone.          I had to call him four times this

 morning.”    Although this speaks to his heavy heroin usage generally,

 it offers little insight into his specific state of mind at the time

 of his arrest, which was several months later.

       Following Mitchell’s interview with Det. Barr, Mitchell was

 brought before Magistrate Judge Paul R. Cherry for his initial

 appearance.      Initially, Mitchell indicated to Magistrate Cherry that

 he had not ingested any illegal drugs since the afternoon of the

 previous day. But, thereafter Pre-trial Services Officer Melinda Page

 reported under oath to Magistrate Judge Cherry that Mitchell told

 Officer Navarra that he last ingested heroin in the early morning

 hours of the same day, prior to his arrest and appearance before the

 magistrate.       Upon   further   questioning   by   the   Magistrate      Judge,


       1
        The record establishes that Binky is Mitchell’s nickname.
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 Mitchell conceded that he had ingested heroin after 12:00 a.m. that

 very date.      He estimated he ingested the heroin at 2:00 a.m. or 3:00

 a.m.   He snorted the heroin, and he used “three or four tenths”.                      He

 reported that he was no longer feeling the affects of the heroin, and

 that he was also not sick, or experiencing withdrawal.                         Mitchell

 further reported that “I’m not saying anything that I wouldn’t

 normally say. It’s not affecting me like that.”                 Further, Magistrate

 Cherry inquired whether Mitchell wanted Judge Cherry to proceed with

 the hearing as to him.              Mitchell indicated that he did, and he

 reported      that   “I   do    a   lot   of   heroin   everyday.”          Although   he

 acknowledged that Mitchell may not be under the affect of heroin to

 the extent that Mr. Wampler was, Magistrate Cherry had concerns about

 proceeding based on Mitchell’s recent consumption of heroin.                       Judge

 Cherry’s opinion was that both Wampler and Mitchell needed “to dry up

 some more before we continue.”

        Although there is no mention of Mitchell experiencing withdrawal

 symptoms on the day of his arrest, the docket in this case establishes

 more than one continuance thereafter for health related reasons.

 Mitchell’s attorney represents these continuances were related to

 Mitchell’s heroin withdrawal.



 CONCLUSIONS OF LAW

        Defendant argues that, due to his recent use of heroin, his

 waiver   of    rights     and   his   confession    were    involuntary,        and    any


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 statements, admissions or confessions of Mitchell must be suppressed

 pursuant to the Fifth and Sixth Amendments and Miranda v. Arizona, 384

 U.S. 436 (1965).

       The Fifth Amendment of the United States Constitution guarantees

 that no person “be compelled in any criminal case to be a witness

 against himself, nor be deprived of life, liberty, or property,

 without due process of law . . . ."            U.S. CONST. AMEND. V.        The Fifth

 Amendment “[p]rotects a person only against being incriminated by his

 own compelled testimonial communications.” Doe v. U.S., 487 U.S. 201,

 207 (1988).    The Sixth Amendment guarantees the assistance of counsel

 in   all   criminal    prosecutions.      U.S. CONST.       AMEND.   VI.       When   an

 individual is taken into custody and is subject to interrogation, the

 individual must be advised of these rights.            Miranda v. Arizona, 384

 U.S. 436 (1966).

       Miranda provides that statements obtained through custodial

 interrogation    can    not   be    utilized   at   trial    unless      the   use    of

 procedural safeguards guarantees that the accused has been informed

 of and has freely waived the Constitutional privileges of the Fifth

 Amendment.    Miranda, 384 U.S. at 444-45.           The burden rests with the

 Government to demonstrate that a defendant knowingly and intelligently

 waived his privilege against self-incrimination and his right to

 retained or appointed counsel.          Id. at 475. Likewise, the Government

 has the burden of establishing the voluntariness of any statement it

 intends to use at trial.           See United States v. Holmes, 632 F.2d 167


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 (1st Cir. 1980); United States v. Dodier, 630 F.2d 232 (4th Cir.

 1980); United States v. Cox, 487 F.2d 634 (5th Cir. 1973).

       In Moran v. Burbine, the Supreme Court addressed what constitutes

 a valid waiver of Miranda rights.        475 U.S. 412 (1986).           According to

 the Court in Burbine, this inquiry has two distinct dimensions.

             First, the relinquishment of the right must have
             been voluntary in the sense that it was the
             product of a free and deliberate choice rather
             than intimidation, coercion, or deception.
             Second, the waiver must have been made with a
             full awareness of both the nature of the right
             being abandoned and the consequences of the
             decision to abandon it. Only if the totality of
             the circumstances surrounding the interrogation
             reveal both an uncoerced choice and the requisite
             level of comprehension may a court properly
             conclude that the Miranda rights have been
             waived.

 Id. at 422 (internal quotations omitted).

       But, later the same year, the Supreme Court decided another case

 addressing waiver of Miranda rights and voluntariness of confessions.

 Colorado v. Connelly, 479 U.S. 157 (1986).            In Colorado v. Connelly,

 the   Supreme   Court    stated   the     following    with     regards      to   the

 admissibility of confessions:

             . . . [C]oercive government misconduct was the
             catalyst for this Court’s seminal confession
             case, Brown v. Mississippi, 297 U.S. 278, 56 S.
             Ct. 461, 80 L. Ed 682 (1936).      In that case,
             police officers extracted confessions from the
             accused through brutal torture. The Court had
             little difficulty concluding that even though the
             Fifth Amendment did not at that time apply to the
             States, the actions of the police were “revolting
             to the sense of justice.”     Id., at 286, 56 S.
             Ct., at 465.    The Court has retained this due
             process focus, even after holding, in Malloy v.

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             Hogan, 378 U.S. 1, 84 S. Ct. 1489, 12 L. Ed.2d
             653 (1964), that the Fifth Amendment privilege
             against compulsory self-incrimination applies to
             the States.   See Miller v. Fenton, supra, 474
             U.S., at 109-110, 106 S. Ct., at 449.

             Thus, the cases considered by this Court over the
             50 years since Brown v. Mississippi have focused
             upon the crucial element of police overreaching.
             While each confession case has turned on its own
             set of factors justifying the conclusion that
             police conduct was oppressive, all have contained
             a substantial element of coercive police conduct.
             Absent police conduct causally related to the
             confession, there is simply no basis for
             concluding that any state actor has deprived a
             criminal defendant of due process of law.
             Respondent correctly notes that as interrogators
             have turned to more subtle forms of psychological
             persuasion, courts have found the mental
             condition of the defendant a more significant
             factor in the “voluntariness” calculus.       See
             Spano v. New York, 360 U.S. 315, 79 S. Ct. 1202,
             3 L. Ed.2d 1265 (1959). But this fact does not
             justify a conclusion that a defendant’s mental
             condition, by itself and apart from its relation
             to official coercion, should ever dispose of the
             inquiry into constitutional “voluntariness.”

  Id. at 163-64.

        The Court in Connelly did not merely address the admissibility

  of confessions; the Court also addressed the issue of waiver of

  Miranda rights which had just been addressed early that year in Moran

  v. Burbine.    In Connelly, the Supreme Court of Colorado had relied

  upon the testimony of a psychologist that the respondent could not

  make a “free decision with respect to his constitutional right of

  silence ... and his constitutional right to confer with a lawyer

  before talking to the police.”       Id. at 169.    But, the Court had this

  to say about reliance on such testimony:

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             We think that the Supreme Court of Colorado erred
             in importing into this area of constitutional law
             notions of “free will” that have no place there.
             There is obviously no reason to require more in
             the way of a “voluntariness” inquiry in the
             Miranda waiver context than in the Fourteenth
             Amendment confession context. The sole concern
             of the Fifth Amendment, on which Miranda was
             based, is governmental coercion . . .

             Respondent urges this Court to adopt his “free
             will” rationale, and to find an attempted waiver
             invalid whenever the defendant feels compelled to
             waive his rights by reason of any compulsion,
             even if the compulsion does not flow from the
             police. But such a treatment of the waiver issue
             would “cut this Court’s holding in [Miranda]
             completely loose from its own explicitly stated
             rationale.” Beckwith v. United States, 425 U.S.
             341, 345, 96 S. Ct. 1612, 1615, 48 L. Ed.2d 1
             (1976).    Miranda protects defendants against
             government coercion leading them to surrender
             rights protected by the Fifth Amendment; it goes
             no further than that.

  Id. at 170-71.    Similarly, the Seventh Circuit, relying on Connelly,

  has stated that “It is well established that mental state alone cannot

  render a confession involuntary; government coercion must also be a

  factor.”    United States v. Jones, 359 F.3d 921 (7th Cir. 2004).

  Likewise, in United States v. Chrismon the Seventh Circuit recognized

  that     “[a]   diminished   mental    state   is   only    relevant     to   the

  voluntariness inquiry if it made mental or physical coercion by the

  police more effective.”      965 F.2d 1465, 1469 (7th Cir. 1992).

         Whether the voluntariness of Mitchell’s waiver of his Miranda

  rights or the voluntariness of his confession is considered, this

  Court is to use a totalities of the circumstances test.              See Connor

  v. McBride, 375 F.3d 643, 650 (7th Cir. 2004)(“In evaluating the

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  voluntariness of a waiver or confession, a court must consider the

  totality of the circumstances.”); Sweeney v. Carter, 361 F.3d 327, 331

  (7th Cir. 2004)(noting that the question of whether a defendant

  knowingly and voluntarily waived his Miranda rights is evaluated in

  light of the totality of the circumstances); United States v. Dillon,

  150 F.3d 754, 756 (7th Cir. 1998)(“A confession is voluntary if, in

  light of the totality of the circumstances, the confession is the

  product of a rational intellect and free will and not the result of

  physical abuse, psychological intimidation, or deceptive interrogation

  tactics that have overcome the defendant’s free will.”).

        The factors to be considered include, but are not limited to, the

  following: defendant’s age, intelligence, background, experience,

  mental capacity, education and physical and mental condition at the

  time of questioning (including whether the defendant was under the

  influence of drugs or alcohol), the legality and duration of the

  detention, the nature of the interrogation, the duration of the

  questioning, and any physical or mental abuse by the police, including

  any threats or promises, whether suspect was informed of his rights,

  and defendant’s prior experience with the police.           See United States

  v. Jones, 359 F.3d 921, 923-24 (7th Cir. 2004); United States v.

  Huerta, 239 F.3d 865, 871 (7th Cir. 2001); United States v. Sablotny,

  21 F.3d 747, 750 (7th Cir. 1994).       These factors are to be evaluated

  from the perspective of a reasonable person in the position of the

  suspect.   Huerta, 239 F.3d at 871.


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         But, the Supreme Court has clearly held that, even under the

  totality of the circumstances test, there must be some form of

  coercion or wrongdoing on the part of the police in order for this

  Court to grant the instant motion to suppress.              Connelly, 479 U.S. at

  167.     The instant motion to suppress offered no allegations of

  government coercion.     And, at the close of the hearing, when given an

  opportunity    to    state   Mitchell’s       position      regarding     coercion,

  Mitchell’s attorney did not point to any facts that demonstrate

  coercion.

         There is simply no evidence of police coercion or wrongdoing in

  this case.     The Government has established that the interviewing

  detective, Det. Barr, was unaware that Mitchell was intoxicated, and

  did not attempt to take advantage of any diminished capacity that may

  have resulted from intoxication. The Government has established that

  Mitchell was arrested pursuant to a federal search warrant and

  Mitchell was not detained at length prior to his waiver of Miranda

  rights and his confession.       In fact, he confessed within a very brief

  period of time following his arrest.                 No promises were made to

  Mitchell.    No threats of force were used.           Mitchell was not deprived

  of food or sleep.       Thus, in this case, there can be no finding of

  coercive    police   activity,   and    therefore     no    finding     that   either

  Mitchell’s waiver of his Miranda rights or confession was involuntary.

  Even if coercion were not required the record establishes that

  Mitchell    (despite   his   heroin    use)    had    the   requisite     level    of


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  comprehension to knowingly waive his rights.

        This   Court   finds   (considering    all    the   evidence      and   the

  credibility of the witness) that, the totality of the circumstances

  show that Mitchell's waiver of Miranda rights and his confession were

  voluntary.     Accordingly, Mitchell’s motion to suppress cannot be

  granted.



  CONCLUSION

        For the reasons set forth above, Defendant’s Motion to Suppress

  Statements, Admissions and Confessions, Request for a Hearing and

  Points and Authorities Thereon is DENIED.


  DATED: December 18, 2009                /s/RUDY LOZANO, Judge
                                          United States District Court




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